Case 1:05-cr-10006-.]DT Document 27 Filed 05/09/05 Page 10f2 P 24

IN rHE UNrrED srArEs DrsTRiCr COURTO ‘*”/'\3 ~\ gm
FOR rHE WESTERN DIsrRlCr oF TENNEssE;-r; '°//4_ '
EAerRN DIVISION "':; 0 0}’90/ 'O¢~
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UNITED STATES OF AMERlCA, ) ”i’
)
Plaintiff, )
)
VS. ) No. 05-10006-T
)
MICHAEL DEON CARR, )
)
Det`endant. )

 

ORDER DENYING MOTION TO SUPPRESS EVIDENCE

 

Defendant Michael Deon Carr, by and through counsel, has moved to suppress the
evidence obtained during a search and seizure of defendant’s vehicle on or about Decernber
2, 2004. A hearing on the motion to suppress was held on May 9, 2005, at Which time the
court heard the testimony ofwitnesses and statements of counsel. Based upon the evidence
presented, and for the reasons stated in open court on May 9, 2005, defendant’s motion to

suppress is denied.

IT IS SO ORDERED.

@WA.M

JANYS D. TODI)
UNI ED srATEs DISTRICT JUDGE

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This notice confirms a copy of the document docketed as number 27 in
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May ]0, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

